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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Neuroscience Advanced Systems, Inc., a )
 New York Corporation,                  )
                                        )
              Plaintiff,                )
                                        )
                                        ) Case No. 22-cv-06847
Eugene Lipov and Lipov Medical S.C.     )
d/b/a Stella Center,                    )
                                        )
              Defendant.                )



     DEFENDANTS, EUGENE LIPOV AND LIPOV MEDICAL S.C. D/B/A STELLA
          CENTER’S,’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

       Defendants Eugene Lipov (“Lipov”) and Lipov Medical S.C. d//b/a Stella Center

(“Stella”), (“Wells Fargo”) hereby moves for dismissal with prejudice of Plaintiff, Neuroscience

Advanced Systems, Inc., a New York Corporation’s Complaint for failure to state a claim under

Fed. R. Civ. P. 12(b)(6). The support for Lipov and Stella’s Motion is set forth in the simultaneously

filed Memorandum of Law in Support.


       WHEREFORE, and for the reasons set forth in its Memorandum of Law, Eugene Lipov and

Lipov Medical S.C. d//b/a Stella Center respectfully request that this Court grant its motion to

dismiss this action with prejudice pursuant to Fed. R. Civ. P. 12(b)(6).

                                                 Respectfully submitted,
                                                 Defendants Eugene Lipov (“Lipov”) and Lipov
                                                 Medical S.C. (Stella)
                                                  /s/ Paul M. Bach
                                                 BACH LAW OFFICES, INC                  .
                                                 P.O. Box 1285
                                                 Northbrook, IL 60065 Phone:
                                                 847-564-0808
                                                 paul@bachoffices.com
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                                  CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that on September 25, 2020, he caused the foregoing to be

filed with the Clerk of the Court via the Court’s electronic case filing/ECF system, and a copy of the

same to be served on counsel of record through the Court’s electronic case filing/ECF system.



                                                 Respectfully submitted,
                                                 Defendants Eugene Lipov (“Lipov”) and Lipov
                                                 Medical S.C. (Stella)
                                                  /s/ Paul M. Bach
                                                 BACH LAW OFFICES, INC                  .
                                                 P.O. Box 1285
                                                 Northbrook, IL 60065 Phone:
                                                 847-564-0808
                                                 paul@bachoffices.com
